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                               Attorneys for party in interest Tecumseh – Infinity
                      14       Medical Receivables Fund, L.P.
                      15                                UNITED STATES BANKRUPTCY COURT
                      16                                          DISTRICT OF NEVADA
                      17       In re:                                                CASE NO. 21-14486-ABL
                      18                                                             Chapter 7
                               INFINITY CAPITAL MANAGEMENT, INC.,
                      19
                                              Debtor.
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                      21                  NOTICE OF APPEARANCE AND REQUEST FOR SPECIAL NOTICE

                      22                GERALD M. GORDON, WILLIAM M. NOALL, and GABRIELLE A. HAMM of the

                      23       law firm of GARMAN TURNER GORDON LLP, hereby makes their appearance on behalf of

                      24       party in interest Tecumseh – Infinity Medical Receivables Fund, L.P. (“Tecumseh”). Gerald M.

                      25       Gordon, William M. Noall, and Gabrielle A. Hamm have been retained as co-counsel to Michael

                      26       D. Napoli of the law firm Akerman LLP.

                      27                Pursuant to Bankruptcy Rule 2002, Gerald M. Gordon, William M. Noall, and Gabrielle

                      28       A. Hamm hereby request special notice of all hearings, actions, contested matters, and adversary
      Garman Turner
       Gordon LLP
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                        1      proceedings in this case, together with copies of all pleadings, papers, and all related materials that

                        2      are issued or filed in connection with the above captioned case by the Court, Debtor, or other

                        3      parties-in-interest. All notices and copies in response to the foregoing should be directed to:

                        4                                     Gerald M. Gordon, Esq.
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                      13             Neither this paper nor any subsequent appearance, pleading, claim, proof of claim, document,

                      14       suit, motion, nor any other writing or conduct, shall (i) expressly or impliedly designate the

                      15       undersigned as agent for service of process on Tecumseh, or (ii) constitute a waiver of any of the

                      16       following rights of the Tecumseh:

                      17             (a)       Right to have any and all final orders in any and all non-core matters entered only after

                      18       de novo review by United States District Court Judge;

                      19             (b)       Right to trial by jury in any proceeding as to any and all matters so triable herein,

                      20       whether or not the same be designated legal or private rights, or in any case, controversy or proceeding

                      21       relating hereto, notwithstanding the designation vel non of such matters as “core proceedings”

                      22       pursuant to 28 U.S.C. § 157(b)(2)(H), and whether such jury trial right is pursuant to statute or the

                      23       United States Constitution;

                      24             (c)       Right to have the reference of this matter withdrawn by the United States District Court

                      25       in any matter or proceeding subject only to mandatory or discretionary withdrawal; and

                      26             (d)       Other rights, claims, actions, defenses, setoffs, recoupments, or other matters to which

                      27       this party is entitled under any agreements or at law or in equity or under the United States

                      28       Constitution.
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       Gordon LLP
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                        1            All of the above rights are expressly reserved and preserved unto Tecumseh without exception

                        2      and with no purpose of confessing or conceding jurisdiction in any way by this filing or by any other

                        3      participation in the above-captioned case and ancillary proceedings.

                        4             Dated this 8th day of December, 2021.

                        5                                                     GARMAN TURNER GORDON LLP

                        6
                                                                              /s/ Gerald M. Gordon
                        7                                                     GERALD M. GORDON
                                                                              WILLIAM M. NOALL
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                      11                                                      and

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                                      4876-1066-0358, v. 1
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